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DMP:ICR/SKW/EHS
F. #2022R00326


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                        X


UNITED STATES OF AMERICA                                  INDICTMENT

                                                                    l:22-cr-00214(WFK)(LB)
       - against -                                       Cr. No.
                                                         (T. 18, U.S.C., §§ 924(c)(l)(A)(i),
FRANK JAMES,                                              924(c)(l)(A)(ii), 924(c)(l)(A)(iii),
                                                          924(d)(1), 981(a)(1)(C), 981(a)(1)(G),
                         Defendant.                       1992(a)(7), 1992(a)(10), 1992(b)(1),
                                                          1992(c)(1), 1992(c)(2) and 3551 ets^.;
                                                          T.21,U.S.C.,§ 853(p); and T. 28,
                                        X                  U.S.C.,§ 2461(c))

THE GRAND JURY CHARGES:


                                            COUNT ONE
    (Terrorist Attack and Other Violence Against a Mass Transportation System and Vehicle
                              Carrying Passengers and Employees)

               I.      On or about April 12, 2022, within the Eastern District of New York and

elsewhere, the defendant FRANK JAMES did knowingly and without lawful authority and

permission commit and attempt to commit an act, including the use of a dangerous weapon, with

the intent to cause death and serious bodily injury to one or more persons on a garage, terminal,

structure, track, electromagnetic guideway, supply, and facility used in the operation of, and in

support of the operation of, a mass transportation vehicle, which mass transportation vehicle was

carrying one or more passengers and employees at the time of the offense, to wit: JAMES

discharged a firearm at passengers on a Metropolitan Transportation Authority subway car,

which was located on a subway track and in a structure and facility used in the operation of the
subway system, and the conduct required for the offense was engaged in, on, against and

affecting a mass transportation provider engaged in interstate and foreign commerce, and

                                                                                             COURTS
                                                                                        EXHIBIT NO. ^
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